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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                :          CIVIL ACTION
STACY NAZAR
                                                :
      v.
                                                :
                                                           No. 10-6708
NCO FINANCIAL SYSTEMS, INC.                     :


                          NOTICE OF ARBITRATION HEARING

               Please take note that the above-captioned civil action case has been scheduled for

ARBITRATION at 9:30 am on Wednesday, June 15, 2011. PLEASE NOTE THAT THIS

ARBITRATION HEARING WILL BE HELD IN THE JAMES A. BYRNE U.S.

COURTHOUSE, 601 MARKET ST., PHILADELPHIA, PA 19106. REPORT TO ROOM

2609 FOR YOUR ROOM ASSIGNMENT. NOTE: Arbitrators shall not participate in settlement

discussions.

                                                           Michael E. Kunz
                                                           Clerk of Court


                                                           By: /s/Janet Vecchione
                                                           Janet Vecchione
                                                           Deputy Clerk
                                                           Phone:267-299-7074

Date:March 10, 2011

Copies:        Courtroom Deputy to Judge Thomas N. O'Neill, Jr.
               Docket Clerk - Case File

               Counsel:              C. Kimmel, Esq.
                                     R. Enders, Esq.




ARB2.FRM
